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              EXHIBIT B
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payroll department or person(s) overseeing payroll. Any unauthorized review, use, disclosure,
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this message in error please contact Valley Servicing immediately at contact@valleyservicing.com
or 800-943-0692 and destroy all copies of the original message and any attachments.




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                                                                                          Attn: hr/payroll

Fax Number:                                     MEMO:
Date: 12/29/2022                                hr/payroll
Pages: 7




Re: Employee Wage Assignment



Attached are wage assignment documents regarding one of your employees. Please process the wage assignment
accordingly. In order to assist you, we have included the following:


             1. Wage Assignment Demand Notice;
             2. Employment Confirmation; and
             3. Executed Wage Assignment Agreement


Please let us know if you need any additional information or there is anything we can do to make the process easier.
Thank you for your help and attention to this matter.



Sincerely,

Valley Servicing
Email: contact@valleyservicing.com
Toll Free: 1-800-943-0692
Fax: 1-866-618-8062
Servicer For:
West Side Lending
PO Box 8490
Mesa, AZ 85214




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WAGE ASSIGNMENT DEMAND NOTICE

Freedom Auto Sales

2480 E Northern AVe
Kingman, AZ 86409

Text22:
Re: Wage Assignment; SEAN SULLIVAN, xxx-xx-4990

Dear Employer:

Text22:
This is a notice of demand ("Demand") on a wage assignment executed by SEAN SULLIVAN ("Employee") provided to
West Side Lending on 03/24/2022 concerning Loan Agreement, WS-R2B70EF6. Under the Wage Assignment, you as
Employer are authorized and instructed to deduct amounts from the Employee’s wages in accordance with the Wage
Assignment, this Demand, and applicable law.
Text22:
The total amount of debt under the Loan Agreement now due and owing is $3,415.24. The amount due may increase
as a result of additional interest, fees, penalties and/or other costs assessed in accordance with the Loan Agreement.

You are to begin deductions on the first pay day after you receive this Demand. If the first pay day is within 10 days
after you receive this, you may begin deductions on the second pay day after receipt. You are to continue deductions
until the debt is paid in full unless otherwise limited by applicable law.
Text22:
Enclosed is a copy of the Wage Assignment executed by SEAN SULLIVAN. The Wage Assignment was electronically
signed by SEAN SULLIVAN in accordance with The Electronic Signatures in Global and National Commerce Act.

The employee was notified that you would be receiving this Demand prior to it being sent.
Please read all the enclosed documents carefully as they contain important information about this Wage Assignment.
You can contact us about the wage assignment process at the following number : 800-943-0692.




Thank you for your attention to this matter,

West Side Lending




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                                            WAGE ASSIGNMENT
Date: 12/29/2022                                            Reference Number: WS-R2B70EF6
Employee: SEAN SULLIVAN                                     Acct Specialist: vanessa
Employee SSN: xxx-xx-4990                                   Email: contact@valleyservicing.com
                                                            Toll Free: 800-943-0692
*** TOTAL OWED: $3,415.24 ***                               Fax: 866-618-8062

Employer: Freedom Auto Sales                                West Side Lending
                                                            PO Box 8490
Fax:
                                                            Mesa, AZ 85214
Address: 2480 E Northern AVe

Address: Kingman, AZ 86409




Wage Assignment Amount.

 TOTAL DUE: $3,415.24


The Wage Assignment Amount for each pay period is 15% of the employee's
disposable pay (not to exceed 15%).

Make checks payable to: West Side Lending

Please mail checks to:

West Side Lending
PO Box 8490
Mesa, AZ 85214




                         Phone: 800-943-0692 Fax: 866-618-8062 PO Box 8490, Mesa, AZ 85214
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                                         EMPLOYER CONFIRMATION
PLEASE COMPLETE AND RETURN THIS COMFIRMATION TO West Side Lending WITHIN 10 DAYS OF RECEIPT


Date: 12/29/2022
Employee:                                                     Employee SSN:
SEAN SULLIVAN                                                 xxx-xx-4990

To be completed by employer:

Date Received:                                                Reference Number:



                                                              WS-R2B70EF6

Employer:                                                     Employer EIN/TIN:




Check One:

_______ The above named employee is currently employed with this employer, and deductions

will start on __________ day of _________________, in the year ___________________,
                                         OR
_______ The above named employee is no longer employed with this employer.

If the employee is no longer employed with this Employer, please complete the following:
Employment Termination Date:                                  Employee's current employer (if known):



Employer Comments:




 HR/Payroll Signature                                                       Date


 HR/Payroll Print Name                                                      HR/Payroll Phone Number

Send completed confirmation by fax or mail to:
West Side Lending
Fax: (866) 618-8062
Mail: PO Box 8490, Mesa, AZ 85214
                          Phone: 800-943-0692 Fax: 866-618-8062 PO Box 8490, Mesa, AZ 85214
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                                      WAGE ASSIGNMENT
If your selected method of payment(s) (i.e. ACH Authorization, Remotely-Created Payment Order, etc.)
under your Loan Agreement with Menominee Tribe of Wisconsin dated 03/24/2022 is dishonored or
returned unpaid and you have not otherwise made payment in full, then you authorize and instruct your
current employer, Freedom Auto Sales or any subsequent employer to deduct amounts owing to
Menominee Tribe of Wisconsin from your wages and pay the amounts directly to Menominee Tribe of
Wisconsin on your behalf until such amounts are paid in full unless otherwise limited by applicable law. You
will be notified prior to this Wage Assignment being sent to your employer.


NOTE: THIS WAGE ASSIGNMENT IS REVOCABLE AT WILL. You may revoke this Wage Assignment by
sending a written revocation to Menominee Tribe of Wisconsin d/b/a West Side Lending, PO Box 8490,
Mesa, AZ 85214. The written revocation must state your name, date of your loan agreement, and a
statement that you wish to revoke the Wage Assignment.

BY TYPING YOUR NAME AND CLICKING THE [SUBMIT] BUTTON BELOW YOU ARE
ELECTONICALLY ACKNOWLEDGING AND UNDERSTAND THAT YOU ARE PROVIDING Menominee
Tribe of Wisconsin WITH THIS WAGE ASSIGNMENT. PLEASE PRINT A COPY OF THIS WAGE
ASSIGNMENT FOR YOUR RECORDS.

                          Borrower, SEAN SULLIVAN , signed electronically from
                                 IP address 172.58.76.188 at 3/24/2022

                        Lender signed electronically from IP address at 3/24/2022




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